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                              UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )            NO. 3:12-00137-3
               v.                              )
                                               )            Judge Sharp
MELISSA FAYE DEMPSEY                           )

                    MOTION FOR ISSUANCE OF ARREST WARRANT

       The United States, through David Rivera, United States Attorney for the Middle District of

Tennessee, and Assistant United States Attorney Brent A. Hannafan, hereby moves for this Court

to issue a warrant for the arrest of the defendant.

       The defendant was ordered to report to the Bureau of Prisons on March 3, 2014. (Docket

No. 236). The undersigned has been advised by the United States Marshals Service that the

defendant has not reported to the BOP facility to which she was to report – the Federal

Correctional Institute in Tallahassee, Florida. Therefore, the United States respectfully requests

this Court issue a warrant for her arrest.

                                                               Respectfully submitted,

                                                               DAVID RIVERA
                                                               United States Attorney for the
                                                               Middle District of Tennessee

                                                               By: s/ Brent A. Hannafan
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 Case 3:12-cr-00137         Document 245           Filed 04/09/14   Page 1 of 1 PageID #: 1036
